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     B.T., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Child C.T. And concerning K.P. No. 24SC480Supreme Court of Colorado, En BancAugust 19, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA1681
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    